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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

DANIEL HERRON,                               )
                                             )
            Plaintiff,                       )
                                             )
      vs.                                    )          Case No. 4:24-cv-00425-MTS
                                             )
TEARS OF EDEN, et al.,                       )
                                             )
            Defendants.                      )

                            MEMORANDUM AND ORDER

       This matter is before the Court on Defendants’ Motion for Extension of Time,

Doc. [103], which seeks to extend the deadline in the case management order for physical

or mental examinations pursuant to Federal Rule of Civil Procedure 35. After a complete

review of the briefing and exhibits filed on this Motion, the Court will grant it. See Kmak

v. Am. Century Cos., 873 F.3d 1030, 1034 (8th Cir. 2017) (noting amendment of

scheduling order requires a showing of “good cause,” the “primary measure” of which is

“the movant’s diligence”); see also Fed. R. Civ. P. 16(b)(4).

       The parties also disagree on the proper location of the independent medical

examination (“IME”) given that Plaintiff resides in Indiana. And, if travel is required,

they disagree about whether Plaintiff should have to pay for the associated expenses.

Because of the ongoing disagreement, Plaintiff requested that the Court “set the

parameters for further discussions between the parties about” any IME’s terms.

Doc. [104]. “Rule 35 does not provide parameters regarding the location of an IME.”

Griffin v. Biomat USA, Inc., 1:19-cv-0604-KFP, 2021 WL 2152525, at *1 (M.D. Ala.
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Apr. 9, 2021) (finding court may require a plaintiff to travel outside the judicial district in

which plaintiff lives and in which the case is pending for an IME). But from what

Plaintiff provided in his briefing and exhibits, he has not shown the type of “unreasonable

hardship or exceptional circumstances” that courts find sufficient to overcome a

plaintiff’s general obligation to travel to the forum, at his own expense, for examination

by defendants. See Matthews v. Watson, 123 F.R.D. 522, 523 (E.D. Pa. 1989); see also

Costanza v. Monty, 50 F.R.D. 75, 76 (E.D. Wis. 1970) (citing Pierce v. Brovig, 16 F.R.D.

569, 570 (S.D.N.Y. 1954)); Baird v. Quality Foods, Inc., 47 F.R.D. 212, 213 (E.D. La.

1969) (Rubin, J.). *

        With this caselaw in mind, the parties shall meet and confer regarding their dispute

on the details of the IME and seek an agreement that limits unnecessary expense and

inconvenience where practicable. See, e.g., Baird, 47 F.R.D. at 213 (requiring plaintiff to

travel to forum at his own expense for Rule 35 IME but ordering defendant to make

“every reasonable effort to schedule all examinations and tests on a single day so that the

plaintiff will not be unduly inconvenienced”); Randolph v. McCoy, 29 F. Supp. 978, 979

(S.D. Tex. 1939) (setting Rule 35 IME for a Saturday given “the fact that [plaintiff] [wa]s

employed as a superintendent of schools” some eighty miles from where the examination

was to be held); see also Fed. R. Civ. P. 1 (requiring the parties to construe, administer,

*
  The Court recognizes that Plaintiff did not file this action in this District. Nevertheless, this
action is in this District by transfer in lieu of dismissal for want of personal jurisdiction, see 28
U.S.C. § 1631, because the United States District Court for the Southern District of Indiana
found that it lacked personal jurisdiction over Defendants. Doc. [44]. In other words, this Court
is the “venue of jurisdiction.” See Rodriguez v. Gusman, 974 F.3d 108, 115 (2d Cir. 2020)
(referring to “the general requirement of appearing in the venue of jurisdiction for an
examination” under Rule 35).

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and employ the Rules “to secure the just, speedy, and inexpensive determination of every

action and proceeding”).

       If the parties cannot reach an agreement on the location and scheduling of the IME

in this matter, Defendants shall file a motion with the Court under Rule 35(a)(2) no later

than Monday, February 10, 2025, seeking to compel the examination. Plaintiff will

have seven (7) days to file any response to that motion. The Court then would set the

“time,” “place,” and other details of the examination. See Fed. R. Civ. P. 35(a)(2)(B); see

also 8B Charles Alan Wright, Arthur R. Miller, & Richard L. Marcus, Federal Practice

and Procedure § 2234 (3d ed.) (“The trial court has extensive discretion in determining

the details of the examination.”).

       Accordingly,

       IT IS HEREBY ORDERED that Defendants’ Motion for Extension of Time,

Doc. [103], is GRANTED, and the deadline for physical or mental examinations

pursuant to Federal Rule of Civil Procedure 35 is EXTENDED through Monday,

March 31, 2025. All other deadlines within the Case Management Order, Doc. [89],

remain in effect.

       Dated this 24th day of January 2025.



                                          MATTHEW T. SCHELP
                                          UNITED STATES DISTRICT JUDGE




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